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                                                                                  2021 Mar-19 PM 10:50
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

 EQUAL EMPLOYMENT                          )
 OPPORTUNITY COMMISSION,                   )
                                           )
           Plaintiff,                      )
                                           )
 and                                       )
                                           )
 VINCENT JACKSON,                          )
                                           )
           Plaintiff-Intervenor,           )
 v.                                        ) Civil Action No. 2:17-cv-01649-MHH
                                           )
 DOLGENCORP, LLC,                          )
                                           )
           Defendant.                      )

                        DEFENDANT’S REPLY IN SUPPORT OF
                        MOTION FOR SUMMARY JUDGMENT

         The EEOC and Vincent Jackson have filed separate opposition briefs to Dollar

General’s motion for summary judgment and neither overcomes the flaws in their

ADA and GINA claims. See Doc. ## 119, 121. Judgment for Dollar General should

be entered as a matter of law and this action dismissed.

                                    ARGUMENT

 A.      Dollar General is Entitled to Summary Judgment on Plaintiffs’ ADA
         Claim.
         Neither Jackson nor the EEOC have addressed the dispositive failures in their

ADA claim. First, neither pled an ADA disparate treatment claim, and they are

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precluded from pursuing one now. Second, Plaintiffs have failed to establish any

genuine issue of material fact that the ADA Aggrieved Parties were disabled (or

regarded as disabled). Third, the uncontested statistics of all candidates who

underwent the pre-employment physical exam affirmatively disprove their theory

that the alleged qualification standards had any disparate impact on the disabled.

Finally, even if Plaintiffs could overcome the absence of evidence showing a

disparate impact, the challenged assessment of a candidate’s visual acuity, blood

pressure, and blood sugar during the examination process was job-related and

consistent with business necessity. Plaintiffs have not overcome these shortcomings

in their opposition briefs, and Dollar General is accordingly entitled to summary

judgment on their ADA challenge.

         1.        Jackson and the EEOC pled ADA “qualification standard” claims, not
                   intentional disability discrimination claims.

         From the outset of this case, Plaintiffs have challenged the pre-employment

physical examination process on the theory that “the effect of the practices” resulted

in the ADA Aggrieved Parties being denied employment. (Compl. and Intervenor

Compl. at ¶¶ 24–26, 32 (emphasis added)). Plaintiffs have not pled, nor offered any

evidence or argument, that anyone acted with an intent to discriminate against

Jackson or any other Aggrieved Party. They have instead focused on the alleged

impact of that portion of the examination process that measured visual acuity, blood

pressure, and blood sugar.
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         The distinction between the two types of claims is crucial. A qualification

standard claim is analyzed as a disparate impact claim that looks at the effect of a

qualification standard on a disabled claimant, whereas a disparate treatment claim

challenges the state of mind of a decision maker in determining whether he or she

intended to discriminate against the disabled. See Forsyth v. Univ. of Ala. Bd. of

Trs., 2020 U.S. Dist. LEXIS 103573, at *49 (N.D. Ala. June 12, 2020) (“[T]he two

theories are not interchangeable, and ‘courts must be careful to distinguish between

them.’”) (quoting E.E.O.C. v. Catastrophe Mgmt. Sols., 852 F.3d 1018, 1024 (11th

Cir. 2016)).

         In an apparent effort to avoid the fatal shortcomings in their disparate impact

theory, the EEOC’s opposition brief now makes the belated assertion that a jury

could conclude that Dollar General engaged in intentional disability discrimination.

(EEOC Opp. Br. at 24–38). It is too late to assert such a claim now with the

pleadings long closed. Price v. M&H Valve Co., 2006 U.S. App. LEXIS 8415, *7

n.7 (11th Cir. Apr. 7, 2006); see also May 12, 2020 Scheduling Order at Doc # 86

(“Pleadings and Parties: Closed”).1           Even if Plaintiffs could, however, their

arguments are not accompanied by evidence of any intent to discriminate by a

decision maker—a necessary element for a disparate treatment claim. See Cordoba


1
 Jackson’s effort to add an unpled failure to accommodate claim is similarly flawed and should be
disregarded. Compare (Jackson Opp. Br. at 15–16) with (Intervenor-Compl. (where the word
“accommodate” appears only once in the Prayer for Relief)).
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v. Dillard’s, Inc., 419 F.3d 1169, 1183, 1185 (11th Cir. 2005) (“‘[D]iscrimination is

about actual knowledge, and real intent, not constructive knowledge and assumed

intent.’” (quoting Silvera v. Orange Cnty. Sch. Bd., 244 F.3d 1253, 1262 (11th Cir.

2001)).

         2.        Plaintiffs have not offered evidence that any ADA Aggrieved Party is
                   disabled.

         Regardless of the Plaintiffs’ chosen ADA theory, a disparate impact claim and

disparate treatment claim both require as a prima facie element that the claimant is

disabled. See Howard v. Norfolk S. Corp., 2020 U.S. Dist. LEXIS 170436, *40

(N.D. Ala. Sep. 17, 2020). In response to Dollar General’s motion, however, neither

plaintiff has offered rebuttal evidence that Jackson or any of the ADA Aggrieved

Parties is disabled. They instead simply declare that the group is disabled and cite

to case law that monocular vision, hypertension, and diabetes can be disabilities.

They similarly declare that the ADA Aggrieved Parties were “regarded as disabled”

with no factual support identifying anyone who allegedly perceived them to have a

disability or a basis for such a perception. Plaintiffs also overlook that their disparate

impact claim cannot rest on a “regarded as” theory.

                   a.    Jackson has not offered any evidence that he is actually disabled.

         Jackson’s brief asserts without support that his “vision does limit or

substantially limits a major life activity, therefore, under the statute’s definition

Jackson is a person with a disability or with a perceived disability.” (Jackson Opp.
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Br. at 8, 14). This assertion is a bare legal conclusion that is both unsupported by

any citation to the discovery record and directly contradicted by Jackson’s

deposition testimony that he is not substantially limited by his monocular vision.

See Jackson Dep. Tr. 429:18–430:23; 436:2–437:20.

                   b.   The EEOC has not offered any evidence that any of the ADA
                        Aggrieved Parties are actually disabled.

         The EEOC’s arguments that it has presented sufficient evidence from which

a jury could conclude the other ADA Aggrieved Parties are disabled similarly fail.

Like Jackson, the EEOC does not cite to any record evidence reflecting that any of

the ADA Aggrieved Parties were disabled within any meaning of the ADA. (EEOC

Opp. Br. at 24–33). The EEOC instead points to cases finding that monocular vision,

high blood pressure, and diabetes 2 can be disabilities where there is actual evidence

that the plaintiffs were indeed impaired, and those impairments substantially limited

a major life activity. Neither Plaintiff, however, offers such evidence for the ADA

Aggrieved Parties.

         Courts have repeatedly confirmed that monocular vision, elevated blood

pressure, and abnormal blood sugar are not per se disabilities. See, e.g., Perry v.

Kappos, 489 F. App’x 637, 638 (4th Cir. 2012) (monocular vision); Jones v.



2
  References to diabetes are inapposite to the present case. As the EEOC admits, the challenged
criteria was abnormal blood sugar necessitating further evaluation, not diabetes. (EEOC Opp. Br.
at 14–15). Plaintiffs make no assertion at all that abnormal blood sugar is a disability.
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McDonald, 2018 U.S. Dist. LEXIS 99217, *26–28 (S.D. Fla. June 12, 2018) (blood

pressure); Wagner v. Colvin, 2013 U.S. Dist. LEXIS 182823, *28 (M.D. Fla. Dec.

11, 2013) (blood sugar). First, evidence of a single abnormal test result does not

establish an “impairment” within the meaning of the ADA, much less a “disability.”

See Wagner, 2013 U.S. Dist. LEXIS 182823 at *28 (low blood sugar in one lab test

fails to show plaintiff is barred from gainful employment); Parker v. ASRC Omega

Natchiq, 2008 U.S. Dist. LEXIS 96821, *15 (W.D. La. Nov. 17, 2008) (a single high

blood pressure test “fails to present any competent medical evidence that [plaintiff]

suffered from chronic blood pressure or hypertension”).        Isolated test results,

however, are the only evidence in the record that (most of) the ADA Aggrieved

Parties have any kind of physical condition at all.

         Second, even if the EEOC had offered evidence that the ADA Aggrieved

Parties have actual impairments (as opposed to transitory conditions), the EEOC has

offered nothing to show that any of the ADA Aggrieved Parties are substantially

limited in one or more major life activities by their alleged impairments. See Munoz

v. Selig Enters., 981 F.3d 1265, 1273 (11th Cir. 2020); see also Morgan v. Cty.

Comm’n of Lawrence Cty., 2016 U.S. Dist. LEXIS 80281, *80 (N.D. Ala. June 20,

2016) (“[H]igh blood pressure, without more, [is] not [a] condition[] that

substantially impair[s] a person’s ability to perform major life activities, such as

working.”). The EEOC also errs in its reliance on elevated or abnormal test results

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as raising a fact question on the disabled status of the ADA Aggrieved Parties. See

(EEOC Opp. Br. at 19–21); see generally Medical Record Summary. Just the

opposite, the record evidence shows that candidates rated “Referred to PMD” were

not diagnosed with anything. They were simply referred for additional evaluation

by their own physician or another provider of their choice, and all who followed

through with that referral were ultimately given a “Qualified” rating. 3

           Those bare test results provide no indication that the cause of the abnormal

test result, whatever it might be, resulted in a substantial limitation of any major life

activity. The limited testimony from those ADA Aggrieved Parties who have

addressed their condition demonstrates the opposite—they were not substantially

limited. See Jackson Dep. Tr. 429:18–430:23 (admitting he is not substantially

limited); 436:2–437:20; Fielder Dep. Tr. 105:25–107:16 (same); Snead Dep. Tr.

76:19–80:9 (same); Copeland Decl. at ¶ 12 (declaring he can work without issue).

                   c.   Neither Jackson nor the EEOC offer any evidence that Dollar
                        General regarded any ADA Aggrieved Party as disabled.

         The EEOC cannot maintain its qualification standard challenge without any

evidence that the ADA Aggrieved Parties are actually disabled because only

claimants with “actual disabilities” are authorized to bring such a challenge.



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 See MC Dep. Tr. 54:6–55:2; 66:4–12; 72:2–73:10; 101:12–102:16; 123:9–127:1; 163:16–165:10;
201:2–20; Deslattes Dep. Tr. 41:14–48:4; 86:16–90:11; 104:20–106:24; 149:19–153:19; 160:11–
161:23; 290:16–292:24; 315:1–318:4; 406:4–407:3; see also Medical Record Summary.
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Individuals who are not disabled, but claim to have been “regarded as” such, are not

authorized to challenge an employment qualification standard, even if it resulted in

their non-selection. See Wetherbee v. S. Co., 754 F.3d 901, 904–05 (11th Cir.

2014). 4 This comports with the ADA’s statutory language. Pre-employment exams

are expressly permitted, see 42 U.S.C. § 12112(d)(3), and only require further

scrutiny where they “screen out or tend to screen out an individual with a disability

or a class of individuals with disabilities . . . .” See Id. at § 12112(b)(6) (emphasis

added). It also makes intuitive sense as claims brought against the disparate impact

of qualifications standards center on the effect of those standards on individuals with

disabilities rather than the discriminatory intent an individual might have towards

someone he or she regards as disabled. See Kintz v. UPS, 766 F. Supp. 2d 1245,

1254 (M.D. Ala. 2011) (“Disparate impact claims, which are cognizable under the

ADA, are those claims which involve employment practices that are facially neutral

in their treatment of different groups but that in fact fall more harshly on one group

than another and cannot be justified by business necessity. Unlike for a disparate



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  In Wetherbee v. Southern Co., the Eleventh Circuit held that in order to bring an claim challenging
qualification standards under Section 12112(d)(3)(C), a plaintiff needs to be a qualified individual
with a disability because the statutory language “permits medical exams as a condition of
employment, so long as ‘the results of such examination[s] are used in accordance with this
subchapter.’” 754 F.3d 901, 904 (11th Cir. 2014) (quoting 42 U.S.C. § 12112 (d)(3)(C)).
Therefore, “whether or not the results of an exam under (d)(3)(C) were used in accordance with
the applicable subchapter turns on whether there was discrimination on the basis of disability, and
discrimination on the basis of disability cannot occur unless the claimant is disabled.” Id. at 904–
05 (emphasis added).
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treatment claim, a plaintiff bringing a disparate impact claim need not present

evidence of discriminatory intent.” (internal citations and quotations omitted)).

         Furthermore, even if non-disabled individuals were authorized to challenge a

qualification standard by demonstrating they were “regarded as” disabled, neither

Jackson nor the EEOC has offered evidence that Dollar General did in fact regard

any candidate as such. Jackson’s one-sentence argument that he was regarded as

disabled is as conclusory as his argument that he is actually disabled: “Jackson

satisfies [the “regarded as”] requirement because once he informed Dolgencorp’s

agent, Middle Creek’s medical staff, of his monocular vision he was ‘immediately’

told that he was not qualified for the general warehouseperson position.” (Jackson

Opp. Br. at 13). Jackson’s bare assertion with no record citation fails to satisfy his

Fed. R. Civ. P. 56(e) burden of establishing a material factual dispute. He has not

met his burden of establishing a fact question as to whether he was actually disabled,

or even regarded as disabled—a required element of his prima facie case.

         The EEOC’s “regarded as” arguments fare no better. The EEOC relies almost

exclusively on ratings of “Referred to PMD” given to the ADA Aggrieved Parties.

Those ratings, however, do not imply an impairment, and certainly not one

substantially limiting enough to qualify as a disability. The “Referred to PMD”

ratings the EEOC challenges reflect nothing more than Middle Creek’s identification

of a test result that merited follow-up for diagnosis, and depending on that diagnosis,

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potential treatment. See DG Dep. Tr. 240:7–244:1; MC Dep. Tr. 31:8–32:19; 52:15–

59:17; 229:15–231:16; 264:12–265:10; Young Dep. Tr. 49:2–16; Orefice Dep. Tr.

44:9–47:24; 102:9–20. Those ratings, which prompted follow up but did not draw

diagnostic conclusions or result in non-selections, cannot establish the ADA

Aggrieved Parties were “regarded as” disabled as a matter of law. See also STME,

LLC, 938 F.3d at 1316 (“In ‘regarded as’ cases, a plaintiff must show that the

employer knew that the employee had an actual impairment or perceived the

employee to have such an impairment . . . .”); Cooper v. CLP Corp., 2015 U.S. Dist.

LEXIS 171105, *17 (N.D. Ala. Dec. 23, 2015) (not regarded as disabled where

plaintiff “only demonstrate[s] an awareness of [his] physical condition” not “that

[the employer] regarded him as having a physical impairment”).

                   2. The statistical evidence disproves any disparate impact theory.

         Neither Jackson nor the EEOC dispute Dollar General’s statistical analysis

showing that Middle Creek’s pre-employment exams did not disproportionately

screen out individuals with monocular vision, high blood pressure, or abnormal

blood sugar. Their failure to do so is fatal to their ADA claim. Challenges to

qualification standards are analyzed as a disparate impact claims and disparate

impact claims must be proved with statistics.

         The EEOC tries to minimize the statistical proof it cannot refute by

denigrating it as a “numbers game.” To be clear, the statistics the EEOC tacitly

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concedes are accurate conclusively demonstrate that over a four-year period, the

criteria Middle Creek used to evaluate candidates did not “screen out . . . or tend to

screen out” the types of individuals the EEOC purports to represent. See 42 U.S.C.

§ 12112(b)(6); Medical Record Summary. Rather than address this fatal flaw in its

theory, the EEOC asks the Court to ignore those statistics—which in the context of

Section 12112(b)(6) of the ADA are dispositive—and instead focus exclusively on

three of the ADA Aggrieved Parties. (EEOC Opp. Br. at 6). The rationale the EEOC

provides, that “statistical evidence is not required,” (id. at 46–49), is contrary to both

the statutory language of the ADA and the law in this circuit.

         In the Eleventh Circuit (and in the majority of circuits to have addressed the

question), plaintiffs are required to present statistical evidence of disparate impact

to survive summary judgment on an ADA disparate impact claim. See Smith v.

Miami-Dade Cty., 621 F. App’x 955, 961–62 (11th Cir. 2015) (“[T]o establish

a prima facie case of disparate impact [under 42 U.S.C. § 12112(b)(6)], a plaintiff

must provide comparative evidence showing that a policy has a disparate impact on

the disabled.”); Corbin v. Town of Palm Beach, 2014 U.S. Dist. LEXIS 28093, *5

(S.D. Fla. Mar. 4, 2014) (“[A] plaintiff must . . . demonstrate causation by offering

statistical evidence . . . .”); Kintz, 766 F. Supp. 2d at 1253–54 (“[T]he plaintiff must

produce some evidence about the population that a policy applies to, some numbers

or proportional statistics, in order to survive a motion for summary judgment.”); see

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also Roberts v. City of Chicago, 817 F.3d 561, 566 (7th Cir. 2016); Crawford v.

United States Dep't of Homeland Sec., 245 F. App’x 369 (5th Cir. 2007); Crocker v.

Runyon, 207 F.3d 314, 320 (6th Cir. 2000).

         The EEOC does not cite the Eleventh Circuit’s Smith decision or any of the

foregoing Circuit Court decisions requiring statistical proof for ADA disparate

impact claims. The EEOC instead cites two out-of-circuit district court cases and

the EEOC’s “Technical Assistance Manual.” Rather than asking the Court to apply

the law of this Circuit, the EEOC is instead asking the Court to ignore that law.

         Moreover, even if a plaintiff’s ADA disparate impact claim could

theoretically survive summary judgment without statistical evidence of a disparate

impact, that is not the circumstance here. The Court is not confronted with a lack of

any statistical evidence. It has before it unrefuted statistical evidence negating any

theory of disparate impact on any disabled populations. 5 Such evidence necessitates

summary judgment in Dollar General’s favor. Cf. Mims v. TVA Bd. of Dirs., 2015

U.S. Dist. LEXIS 141972, *20–21 (N.D. Ala. Sep. 23, 2015) (“In light of plaintiff’s

inability to present statistical evidence of disparate impact (and defendant’s

presentation of statistical evidence to the contrary), . . . plaintiff cannot prove a case



5
  Dollar General notes, as reflected in its Medical Record Summary and its opening brief, that
among those rated “Referred to PMD” because of blood pressure, blood sugar, or vision
measurements, every candidate who followed instructions and either consulted a physician for
follow up, took their medication, or obtained corrective lenses before returning was thereafter rated
“Qualified.” See Medical Record Summary.
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of disparate impact discrimination, and summary judgment is due to be granted on

that claim.”); Garcia v. Bd. of Educ., 436 F. Supp. 2d 1181, 1194 (D.N.M. 2006)

(“The [statistical] evidence presented by Defendants essentially guts Plaintiff’s

disparate impact theory . . . .”).

                   3. Plaintiffs’ ADA claim fails because evaluation of the challenged
                      consideration is job-related and consistent with business necessity.

         Dollar General has shown that visual acuity, blood pressure, and blood sugar

levels are appropriate criteria to check when evaluating whether an individual can

safely operate motorized equipment or work in close proximity to such equipment.

It has done so through the independent medical opinion of Middle Creek, regulations

concerning similar criteria used for DOT commercial driver’s licenses and standard

Alabama driver’s licenses, and a review of the relevant case law. Beyond nitpicking

immaterial factual differences in some of the cases cited by Dollar General and

mischaracterizing Dollar General’s application of certain DOT regulations by

analogy, 6 the EEOC does not challenge any of these bases showing that


6
  Contrary to the EEOC’s assertion, Dollar General has not argued that physical criteria mandated
by DOT regulations for commercial drivers apply as a matter of federal regulation to operators of
industrial machinery. Rather, Dollar General asserts that the Court should follow those circuit and
district courts that have reasonably concluded that DOT requirements are highly persuasive in
assessing “job relatedness” of physical requirements for workers who will operate industrial
machinery given the similar safety considerations. See, e.g., Wolfe v. United States Steel Corp.,
567 F. App’x 367, 368–69 (6th Cir. 2014) (affirming use of federal vision standards for a
commercial driver’s license for a Utility Technician position which involves operating heavy
equipment); EEOC v. Murray, Inc., 175 F. Supp. 2d 1053, 1063 n.11 (M.D. Tenn. 2001)
(“[D]efendant cannot rely on the [DOT] regulations as establishing, as a matter of law, acceptable
regulations of its forklift operators[, but] [t]he regulations may be used to support the defendant’s
arguments . . .”); see also Vaughn v. FedEx Freight, Inc., 421 F. Supp. 3d 1302, 1306 (N.D. Ala.
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consideration of vision, blood pressure, and blood sugar for a general warehouse

worker was job-related and consistent with business necessity. 7 Instead, the EEOC

presents two misplaced arguments against a showing of job-related and consistent

with business necessity, both of which rely on demonstrably untrue factual

assertions.

         First, the EEOC asserts that treating visual acuity, blood pressure, and blood

sugar levels as disqualifying for the general warehouse worker is not job-related and

consistent with business necessity because the determination requires an

individualized analysis showing that the specific individual and their condition

create an unreasonable risk in the workplace.               The factual record, however,

demonstrates that Middle Creek did exactly what the EEOC says it should. It

evaluated each candidate individually, and candidates “Referred to PMD” were not

simply disqualified by the criteria considered but were instead noted as needing more

detailed assessments to evaluate the risk.8 The EEOC even admits that Middle Creek

directed further individualized analysis of those candidates rather than impose




2019) (recognizing that the DOT commercial trucker certification regulations “are based on expert
review of ‘the available scientific literature,’ are recommendations to help medical examiners
determine a driver’s medical fitness for duty, and are ‘considered best practice for commercial
motor vehicle operators and carriers’”).
7
  Jackson failed to offer any substantive argument on the issue.
8
  See Medical Record Summary; MC Dep. Tr. 54:6–55:2; 66:4–12; 72:2–73:10; 101:12–102:16;
123:9–127:1; 163:16–165:10; 182:18–186:14; 201:2–20; Deslattes Dep. Tr. 41:14–48:4; 86:16–
90:11; 104:20–106:24; 149:19–153:19; 160:11–161:23; 290:16–292:24; 315:1–318:4; 406:4–
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blanket disqualification standards. See (EEOC Opp. Br. at 12 (“Rating an applicant

‘referred to PMD’ sometimes did not mean they were not qualified but perhaps

[Middle Creek] wanted more information or further evaluation.”)).

         Second, the EEOC asserts that while a “Referred to PMD” rating may not

have been a de facto disqualification, it effectively operated as one because some

candidates did not have ready access to a doctor who could conduct that additional

evaluation. This assertion is belied by the undisputed record, which shows that the

majority of candidates who received a “Referred to PMD” were later able to be

qualified. See Medical Records Summary. It also shows that Middle Creek would

refer individuals to doctors or even provide additional treatment itself through its

urgent care practice. 9 Moreover, even if true, the EEOC’s argument about access to

healthcare may raise a public policy concern, but it does not raise a concern that

implicates an employer’s responsibilities under the ADA.

         B. Dollar General is Entitled to Summary Judgment on Plaintiffs’ GINA
            Claim.
         All parties now agree that for Plaintiffs to have standing to assert their GINA

Acquisition Claim, they must establish “redressability” for that claim. Plaintiffs,

however, have failed to do so.




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 See MC Dep. Tr. 54:6–55:2; 66:4–12; 72:2–73:10; 101:12–102:16; 123:9–127:1; 163:16–168:22;
182:18–186:14; 201:2–20; Deslattes Dep. Tr. 41:14–48:4; 86:16–90:11; 104:20–106:24; 149:19–
153:19; 160:11–161:23; 290:16–292:24; 315:1–318:4; 406:4–407:3; Pl’s Ex. 5 at 4.
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          Neither Jackson nor the EEOC dispute that their GINA claim is an Acquisition

Claim or that to have standing they must show the availability of some form of relief.

Additionally, neither disputes GINA’s incorporation of Title VII’s remedy structure,

including its distinction between intentional discrimination claims that provide legal

remedies and all other types of claims that provide only equitable relief.

          The EEOC presents two misplaced arguments in favor of redressability.10

First, the EEOC contends in error that because Middle Creek intentionally inquired

about genetic information, legal remedies are available for its Acquisition Claim.

Second, the EEOC contends in error that an injunction can establish redressability

for the claim. Each is addressed in turn below.

                   1. A GINA Acquisition Claim is not an intentional discrimination
                      claim even if the acquisition was “intentional.”
          The GINA Acquisition Claim Plaintiffs brought is not a claim of intentional

discrimination that falls within the limited category of claims for which damages are

available under Section 1981a(a)(1). It is not even a claim of discrimination at all.

          Plaintiffs admit their sole GINA claim is an Acquisition Claim under Section

2000ff-1(b), a subsection that is wholly separate from the subsection that explicitly

creates a cause of action for discrimination: Section 2000ff-1(a).            Further,

“discrimination” means “distinctions or differences in treatment that injure protected



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     Jackson makes no argument he has standing at all, conceding the point.
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individuals.” Bostock v. Clayton Cty., 140 S. Ct. 1731, 1753 (2020) (quoting

Burlington N. & Santa Fe Ry. v. White, 548 U.S. 53, 59 (2006)) (construing Title

VII); Adams v. Sch. Bd., 968 F.3d 1286, 1306 (11th Cir. 2020) (same, construing

Title XI). Here, neither Plaintiff claims “distinctions or differences in treatment that

injure protected individuals” based on genetic information. Bostock, 140 S. Ct. at

1753. Just the opposite—their claim is that all candidates were indiscriminately

questioned about family health history by Middle Creek between December 2013

and August 2014, regardless of their status or their family medical history. See

(Compl. at ¶¶ 33–45; EEOC Opp. Br. at 9–11).

         Plaintiffs’ GINA claim also fails to meet Section 1981a’s requirement that a

claim be for intentional discrimination to provide compensatory and punitive

damages. Just as the Supreme Court and Eleventh Circuit have recognized that

discrimination involves “distinctions or differences in treatment” based on a

protected category, a claim for intentional discrimination is itself distinct and

different from claims of unintentional discrimination. See Sheely v. MRI Radiology

Network, P.A., 505 F.3d 1173, 1190–96 (11th Cir. 2007).

         The only conduct the EEOC claims was intentional was the questioning of

candidates, not that there was any intent to treat candidates differently based on their

genetic information. (EEOC Opp. Br. at 51–52). That theory of intentional action

is not one for intentional discrimination. See Deleon v. Putnam Valley Bd. of Educ.,

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2006 U.S. Dist. LEXIS 3337, *26 (S.D.N.Y. Jan. 26, 2006) (“This standard [of

intentional discrimination] . . . implies more than intent as volition or intent as

awareness of consequences. It implies that the decisionmaker . . . selected or

reaffirmed a particular course of action at least in part because of, not merely in spite

of, its adverse effects upon an identifiable group.”); Tafoya v. Bobroff, 865 F. Supp.

742, 750 (D.N.M. 1994) (“To be entitled to compensatory damages under these

sections [Section 1981a], . . . Plaintiff must allege that Defendants intentionally

discriminated against decedent because of his disability. . . . Plaintiff has alleged no

facts tending to show that Defendants required applicants to complete the run with

the intent to adversely affect disabled persons.”). Whether or not Middle Creek

asked about family medical history intentionally in no way supports a claim that it,

or Dollar General, intentionally discriminated against candidates because of their

family medical history. Accordingly, because Plaintiffs’ GINA claim is not one of

intentional discrimination, they cannot claim a right to recover emotional or punitive

damages to show redressability.

                   2. The EEOC has not sought and cannot obtain injunctive relief on its
                      GINA claim.

         To satisfy the redressability element of standing through an injunction, the

EEOC must have sought such an injunction and that injunction must be available to

it. Neither is the case here.


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         “To determine if the redressability prong is satisfied, the Court examines the

relief requested in the Complaint to determine whether it will compensate for or

eliminate any effects of the alleged wrongdoing.” Nat’l Parks Conservation Ass’n

v. United States DOI, 2012 U.S. Dist. LEXIS 116906, *17 (M.D. Fla. Apr. 12, 2012)

(emphasis added) (citing Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 105–

09 (1998)); see I.L. v. Alabama, 739 F.3d 1273, 1279 (11th Cir. 2014) (“The

Supreme Court has described redressability as ‘a substantial likelihood that the relief

requested will redress the injury claimed.’” (quoting Duke Power Co. v. Carolina

Envtl. Study Grp., Inc., 438 U.S. 59, 75 n.20 (U.S. 1978))) (emphasis added).

Therefore determining whether the EEOC satisfied the redressability element for

standing, the Court can only look to the remedies it sought in its Complaint, rather

than any hypothetical remedy it might have sought.

         In its Complaint, the EEOC seeks injunctive relief only for its ADA claim. It

does not seek any such relief for its GINA claim. (Compl. at Prayer for Relief ¶¶ A–

B (“Grant a permanent injunction enjoining Defendant from . . . any [] employment

practice which discriminates on the basis of disability.”) (emphasis added)). The

EEOC even tacitly admits this fact in arguing that it “may seek” injunctive relief

under GINA. (EEOC Opp. Br. at 53). Accordingly, because Plaintiffs have not

sought injunctive relief for their GINA claim, they cannot rely on its hypothetical

availability to establish standing. See Grant v. Cohen, 630 F. Supp. 513, 523 (E.D.

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Pa. 1985) (“[B]ecause Perry has failed to request relief which will adequately redress

her alleged injury, and because she has failed to state a claim for equitable relief her

claim must be dismissed.”); see also Browder v. US Bank Nat’l Ass’n, 2011 U.S.

Dist. LEXIS 158788, *14–17 (N.D. Ga. Feb. 14, 2011) (“Redressability depends

upon the relief requested, not the relief [the plaintiff] could prove it was entitled to

on the merits.” (internal quotations omitted)).

         Even if the EEOC had sought an injunction for its GINA claim, such relief is

only available if the EEOC “shows a real threat of future harm,” otherwise “there is

in fact no lawful purpose to be served by a preventive injunction.” SEC v. Gentile,

939 F.3d 549, 556 (3d Cir. 2019); see EEOC v. Tex. Dep’t of Agric., 2012 U.S. Dist.

LEXIS 95204, *16 (W.D. Tex. July 10, 2012) (“In order to get a prospective

injunction pursuant to Section 17, the EEOC must allege . . . that without an

injunction the violations are likely to continue.”). The EEOC has not made such a

showing.           The EEOC’s speculation that the practice might be renewed is

unsupported. Likewise, its theory that family medical questions may have continued

after Dollar General’s instruction prohibiting such questioning is belied by its own

Complaint. In it, the EEOC closed what it deemed to be the relevant period on the

date of that instruction, and it is not making any GINA claim for any period of time

thereafter. (Compl. at ¶¶ 41–42). Because the EEOC neither sought an injunction



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for its GINA claim nor could obtain one even if it had, its GINA claim is not

redressable.

                                  CONCLUSION

         Plaintiffs’ briefs in opposition to Dollar General’s motion for summary

judgment do not raise any genuine issues of material fact. They instead attempt to

sidestep the facts in favor of unsupported legal arguments. There are no disputed

material facts and Dollar General is entitled to judgment as a matter of law.

                                       Respectfully submitted,

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                          CERTIFICATE OF SERVICE

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the court’s electronic filing system on the following counsel of record:

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